     Case 4:15-cv-00256-Y Document 8 Filed 08/27/15                 Page 1 of 2 PageID 58


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

JACKELINE GONZALEZ,                                §
                                                   §
       Plaintiff,                                  §
                                                   §
V.                                                 §   CIVIL ACTION NO. 4:15-CV-00256-Y
                                                   §
STATE FARM LLOYDS,                                 §
                                                   §   JURY DEMANDED
       Defendant.                                  §

                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff Jackeline Gonzalez and Defendant State Farm Lloyds hereby stipulate to the

voluntary dismissal with prejudice of this matter, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii). Therefore, Plaintiff’s claims against Defendant State Farm Lloyds are hereby

dismissed with prejudice, with each party to bear its own costs, if any.

       SO STIPULATED, this the 27th day of August 2015.

                                              Respectfully submitted,

                                              /s/ Clayton Hardin*
                                              Bill L. Voss
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JOINT STIPULATION OF DISMISSAL WITH PREJUDICE -1
2222963v2
10578.132
     Case 4:15-cv-00256-Y Document 8 Filed 08/27/15               Page 2 of 2 PageID 59


                                              And


                                              /s/ Rhonda J. Thompson
                                              Rhonda J. Thompson
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                                              Adrienne B. Hamil
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                                              STATE FARM LLOYDS


                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on the 27th day of August 2015, the foregoing pleading
was delivered to the following counsel via electronic filing and e-mail in accordance with the
Federal Rules of Civil Procedure:

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                                              /s/ Adrienne B. Hamil
                                              Adrienne B. Hamil




JOINT STIPULATION OF DISMISSAL WITH PREJUDICE -2
2222963v2
10578.132
